                        Case 20-10036-CSS                 Doc 28-1        Filed 02/05/20          Page 1 of 1

                                                       Notice Recipients
District/Off: 0311−1                         User: DMC                              Date Created: 2/5/2020
Case: 20−10036−CSS                           Form ID: 309F                          Total: 26


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
stkhld      William Dean
                                                                                                                       TOTAL: 1

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Tough Mudder Incorporated          15 MetroTech Center           Brooklyn, NY 11201
cr          Valley Builders LLC        775 Furnace Street         Emmaus, PA 18049
cr          Trademarc Associates Inc.        880 Cara Court          Bangor, PA 18013
cr          David Watkins Homes Inc.          659 Wexford Drive           Lafayette, IN 47905
cr          Navy Federal Credit Union, et al        c/o Prober & Raphael, A Law Corporation           20750 Ventura Boulevard,
            Suite 100       Woodland Hills, CA 91364
tr          Derek C. Abbott       Morris Nichols Arsht & Tunnell LLP             1201 North Market Street        Wilmington, DE
            19801
aty         Adrienne K. Walker         Mintz,Levin,Cohn,Ferris,Glovsky,Popeo            One Financial Center        Boston, MA
            02111
aty         Allen G. Kadish       Archer & Greiner, P.C.          630 Third Avenue, 7th Floor         New York, NY 10017
aty         Christopher Dean Loizides        Loizides, P.A.         1225 King Street        Suite 800       Wilmington, DE 19801
aty         David W. Carickhoff        Archer & Greiner P.C.           300 Delaware Avenue, Suite 1100          Wilmington, DE
            19801
aty         Jane M. Leamy        Office of the United States Trustee         844 King Street        Suite 2207       Wilmington,
            DE 19801
aty         Kathleen M. Miller        Smith, Katzenstein & Jenkins LLP           800 Delaware Avenue          P.O. Box
            410       Wilmington, DE 19899
aty         Kevin F. Shaw        Archer & Greiner, P.C.          300 Delaware Ave. Suite 1100          Wilmington, DE 19801
aty         Ori S. Blumenfeld        Law Office of Ori S. Blumenfeld          405 N. Palm Dr.         #203       Beverly Hills, CA
            90210
14529849 Alanic International Corporation           Law Office of Ori S. Blumenfeld          405 N. Palm
            Drive       #203        Beverly Hills, CA 90210
14531763 Alanic International Corporation           c/o Law Office of Ori S. Blumenfeld         405 N. Palm
            Dr.       #203       Beverly Hills, CA 90210
14529636 Chandler Clarke          273 16th St         505        273 16th St, 505        Jersey City, NJ 07310
14531884 Delaware State Treasury           820 Silver Lake Blvd., Suite 100          Dover, DE 19904
14531883 Internal Revenue Service           P. O. Box 7346         Philadelphia, PA 19101−7346
14530184 Michael Angelo           172 Meserole Street         Apartment 1B           Brooklyn, NY 11206
14441074 Navy Federal Credit Union, et al           c/o PROBER & RAPHAEL, A LAW CORPORATION                        20750 Ventura
            Boulevard, Suite 100       Woodland Hills, California 91364
14531885 Secretary of State         Division of Corporations          Franchise Tax        P.O. Box 898        Dover, DE
            19903
14531881 Securities & Exchange Commission               100 F Street, NE        Washington, DC 20549
14531882 Securities & Exchange Commission               New York Regional Office          Attn: Andrew Calamari, Regional
            Director       Brookfield Place        200 Vesey Street, Suite 400         New York, NY 10281−1022
14402269 Tex Ritter         342 N School St          Grass Valley, CA 95945−6133
                                                                                                                      TOTAL: 25
